     Case 3:17-cv-03251-B Document 31 Filed 12/05/18                Page 1 of 4 PageID 93



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

DEMETRIA MARIE BARRETT,

     Plaintiff,                                 Case No. 3:17-cv-3251-B

v.

MEDICREDIT, INC.,

     Defendant.

        MOTION TO STAY OR IN THE ALTERNATIVE VACATE ALL PENDING
                               DEADLINES

        Defendant Medicredit, Inc. (“Medicredit”), moves this Court to stay or vacate all pending

deadlines:

        CERTIFICATE OF CONFERENCE:                    Pursuant to Local Rule 7.1, undersigned

counsel conferred with Nathan Volheim who indicated that he does not oppose the relief

requested in this motion.

        1.        Contemporaneous with the filing of this Motion, Medicredit filed Suggestions of

Death noting on the record that Plaintiff Demetria Marie Barrett passed away on or about

December 18, 2017. As such, if no motion to substitute is filed by Monday, March 4, 2019, this

case must be dismissed. F.R.C.P. 25(a)(1).

        2.        Medicredit had previously noticed the deposition of Plaintiff for December 6,

2018, but on December 4, 2018, counsel for Plaintiff indicated that he believed she had passed

away.

        3.        The current deadline for completion of discovery is December 7, 2018.

        4.        The dispositive motion deadline is December 18, 2018. See Doc. 18.
    Case 3:17-cv-03251-B Document 31 Filed 12/05/18                   Page 2 of 4 PageID 94


        5.      The parties’ pre-trial materials are also due on March 4, 2019; the pre-trial

conference is set for March 15, 2019 (with the parties exchanging exhibits by March 13, 2019);

and trial is scheduled to commence March 18, 2019. See Doc. 18.

        6.      Because Plaintiff is deceased, counsel for Plaintiff no longer has an attorney-

client relationship with the decedent and therefore cannot participate in this case. See Murphy v.

Murphy, 21 S.W.3d 797, 798 (Tx. App. 2000) (“...it is well established that an attorney-client

relationship terminates upon the death of the client.”).

        7.      For the same reason, Defendant cannot conduct further discovery on Plaintiff.

        8.      And because nearly one year has passed since Plaintiff’s death with no estate or

other probate matter opened for her in that and without anyone seeking to substitute in this case,

it is highly unlikely that any party will timely be substituted. As such, the most likely outcome

of this case is that it will be dismissed pursuant to F.R.C.P. 25(a)(1).

        9.      Accordingly, good cause under F.R.C.P. 16(b)(4) exists to stay or vacate all

pending deadlines, including the pre-trial conference and trial date.         Doing so will save

Defendant considerable cost and expense to prepare a dispositive motion and to prepare for a

trial in a case that will not be able to proceed.

        10.     This Court, therefore, should stay, or in the alternative vacate, all pending

deadlines, including the pre-trial conference and trial date

        WHEREFORE Defendant Medicredit, Inc. requests this Court grant his Motion and stay,

or in the alternative vacate, all pending deadlines, including the pre-trial conference and trial

date.

Dated: December 5, 2018.

                                                               Respectfully submitted,




                                                                                         SL 3081596.1
Case 3:17-cv-03251-B Document 31 Filed 12/05/18   Page 3 of 4 PageID 95


                                           s/Jacob F. Hollars
                                           Jacob F. Hollars, #50352 (CO)
                                           Admitted pro hac vice
                                           Spencer Fane LLP
                                           1700 Lincoln St., Suite 2000
                                           Denver, CO 80203
                                           Phone: (303) 839-3800
                                           Facsimile: (303) 839-3838
                                           Email: jhollars@spencerfane.com

                                           And

                                           Jeremy W. Hays, #24083156
                                           Ogletree, Deakins, Nash, Smoak &
                                           Stewart, P.C.
                                           8117 Preston Rd., Suite 500
                                           Dallas, TX 75225
                                           Phone: (214) 987-3800
                                           Facsimile: (214) 987-3927
                                           Email:Jeremy.hays@ogletreedeakins.com
                                           Attorneys for Defendant




                                                                    SL 3081596.1
    Case 3:17-cv-03251-B Document 31 Filed 12/05/18              Page 4 of 4 PageID 96


                               CERTIFICATE OF SERVICE

       I hereby certificate that on December 5, 2018, a true and accurate copy of the foregoing

was served on all counsel of record by the Court’s CM/ECF system.


                                                          s/Jacob F. Hollars
                                                          Jacob F. Hollars




                                                                                     SL 3081596.1
